536 U.S. 989
    FEDERAL COMMUNICATIONS COMMISSIONv.NEXTWAVE PERSONAL COMMUNICATIONS INC. ET AL. andARCTIC SLOPE REGIONAL CORP. ET AL.v.NEXTWAVE PERSONAL COMMUNICATIONS INC. ET AL.
    No. 01-653.
    No. 01-657.
    Supreme Court of the United States.
    October 1, 2002.
    
      1
      C. A. D. C. Cir. [Certiorari granted, 535 U. S. 904.] Motion of respondents NextWave Personal Communications Inc. et al. for leave to file supplemental appendix denied.
    
    